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BARRON & NEWBURGER, P.C.

Manuel H. Newburger*
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*Board Certified in Consumer and Commercial
Law by the Texas Board ofLegal Specialization
Licensed in Texas and Colorado

April 18, 2018

State Bar of Texas
TeXas Law Center
1414 Colorado Street
Austin, TeXas 78701

Re: James Heironimus, on behalf of himself and all others similarly situated u.
Caualry Portfolio Seri)ices, LLC, and Rausch, Sturm, Israel, Enerson & Homik,
LLC,' Case No. 4:17-cv-00121 in the United States District Court for the
Southern District of TeXas, Houston Division

To Whom it May Concern:
Enclosed please find a CD containing the documents and information required by
28 U.S.C. § 1715. One of the files on the CD contains the names of the class
members. TeXas class members Will receive lOO% of the settlement In order to
protect the privacy of consumers We have password-protected the file. Please
contact me at the direct dial number above if you Want the password. The remaining
files are all a matter of public record, and they are not password-protected.
Thank you for your attention to this matter.

Yours truly,

BARRON &, NEWBURGER, P.C.

Manuel H. Newburger

MHN/n

Phone: (512) 476-9103 1 Fax: (512) 279-0310 17320 N. Mopac Expy., Suite 400 lAusrin, Tx78731 | bn-lawyers.com

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